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11                             UNITED STATES DISTRICT COURT
12                            CENTRAL DISTRICT OF CALIFORNIA
13
14     UNITED STATES OF AMERICA,                   No. 17-322-RGK
15                     Plaintiff,                  DEFENDANT MARC MANI’S
                                                   SENTENCING POSITION;
16              v.                                 EXHIBITS
17     MARC MANI,                                  Date:     September 17, 2018
                                                   Time:     10:00 a.m.
18                     Defendant.
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                          MARC MANI’S SENTENCING POSITION CR 17-322-RGK
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1              Defendant Marc Mani, by and through his counsel of record, hereby
2     respectfully submits his Position re: Sentencing in this matter. This sentencing
3     position is based upon the attached memorandum of points and authorities and
4     exhibits, the Presentence Report, the files and records of this case, and any such
5     argument as may be heard by the Court.
6      DATED: September 13, 2018
7
                                            Morgan, Lewis & Bockius LLP
8
9
10                                          By:        /s/ Nathan J. Hochman
                                                            Nathan J. Hochman
11
                                                        Attorneys for Defendant
12                                                            Marc Mani
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1                          DEFENDANT’S SENTENCING POSITION
2      I.       INTRODUCTION
3               There is an old adage that there are two types of individuals who commit
4      crimes: good people who make mistakes and bad people who get caught. Dr. Marc
5      Mani manifestly falls in the former category as a good person who made mistakes,
6      accepted complete responsibility for them, fully cooperated in the government’s
7      ongoing investigation, entered into a pre-indictment plea agreement, and paid the
8      IRS back in full (all taxes, interest, and penalties) -- and not a bad person who got
9      caught. Dr. Mani is 50 years old, has no prior criminal record, and with the
10     exception of his involvement in the instant offense conduct, has led an
11     extraordinarily productive, hard-working, and community-centered life. He has
12     been a licensed plastic surgeon for over 17 years, after having spent 10 years in
13     medical school and surgical residencies, and has used his skills to build a
14     successful Southern California practice as well as perform pro bono charitable
15     plastic surgery operations on behalf of domestic violence victims, children and
16     veterans. His offense conduct consists of failing to file a disclosure form, a Report
17     of Foreign Bank and Financial Accounts (an “FBAR” form or FinCEN Form 114),
18     regarding his sole foreign account in Dubai in his own name for two years (2012-
19     2013), and failing to pay tax on all of his income earned in Dubai where he would
20     periodically see patients (2012-2014). There is no allegation that Dr. Mani failed
21     to report and pay all the tax from his Southern California practice nor is there any
22     allegation that Dr. Mani committed any type of healthcare or any other violation
23     related to his medical practice.
24              The Probation Officer has calculated a total offense level of 15, a criminal
25     history category of I, and an advisory guideline sentencing range of 18-24 months.
26     (Presentence Report (“PSR” ¶¶ 40, 45, 82). In the Government’s Position re
27     Sentencing of Defendant, the government has recommended an additional two-
28     level reduction of the total offense level based pursuant to U.S.S.G. § 5K1.1 based
                                                   1
                          MARC MANI’S SENTENCING POSITION CR 17-322-RGK
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1      on Dr. Mani’s timely, truthful, significant, useful, reliable and substantial
2      cooperation against his accountant “JB,” who knew about his Dubai account and
3      prepared the returns at issue that underreported the Dubai income. If the Court
4      grants that two-level reduction, the total offense level would be 13, and the
5      advisory guideline range would be 12-18 months, in Zone C.
6               As elaborated herein, Dr. Mani respectfully submits that under all the factors
7      set forth in 18 U.S.C. § 3553(a), instead of a sentence of incarceration, a sentence
8      of probation with conditions including home detention and 1,500 hours of
9      community service (“Recommended Sentence”) is “sufficient but not greater than
10     necessary” to achieve all the aims of sentencing. More specifically, Dr. Mani
11     requests that the Court order Dr. Mani to serve the 1,500 hours of community
12     service by directly helping veterans and others through the non-profit organization
13     Face Forward in dire need of life-changing, plastic surgery operations who are
14     unable to otherwise afford such procedures. Rather than have Dr. Mani spend his
15     time unproductively behind bars, he requests that he be able to make amends to
16     society for his transgressions by using his unique skill set to transform lives of
17     veterans suffering from disfiguring injuries that came from service to their country.
18              This case demonstrates in a compelling way why the Supreme Court rejected
19     mandatory application of the Sentencing Guidelines and returned discretion to the
20     district court “to consider every convicted person as an individual and every case
21     as a unique study in the human failings that sometimes mitigate, sometimes
22     magnify, the crime and the punishment to ensue.” Pepper v. United States, 131 S.
23     Ct. 1229, 1239-40 (2011) (internal quotations and citations omitted). The statutory
24     factors supporting the Recommended Sentence are outlined below. Among other
25     factors in this case:
26              ●       Dr. Mani is a 50-year-old father of a 14-year old daughter (Erica),
27     who, prior to his offense conduct in this case, has led an honest, ethical,
28     productive, law-abiding, and community-oriented life.
                                              2
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1               ●       The activities that form the offense conduct in this case involved one
2      foreign bank account opened in Dubai in Dr. Mani’s own name (not in the name of
3      a foreign company or foreign trust or at multiple foreign banks as is typical for
4      these cases), and the account was opened for three years and closed before the
5      government’s investigation begun. While Dr. Mani failed to report all the income
6      earned in Dubai for three years, there is no allegation that he failed to accurately
7      report all of the income earned domestically in his Southern California practice nor
8      committed any other offense related to his practice.
9               ●       Dr. Mani has an exceptional lifelong history of service as a surgeon,
10     teacher, mentor, and philanthropist.
11              ●       Dr. Mani accepted full responsibility for his actions at the very onset
12     of the investigation, entered into a pre-indictment plea agreement, and fully,
13     truthfully, reliably and timely cooperated with the government’s investigation of
14     his accountant JB.
15              ●       Unlike many defendants in criminal tax cases that only start paying
16     their taxes and interest owed after being sentenced, Dr. Mani entered into a closing
17     agreement with the IRS for all years at issue and has paid in full prior to sentencing
18     the entire tax ($437,878) and interest ($128,239) owed. By doing so, Dr. Mani
19     has made the IRS, the victim of his tax offense, completely whole. In addition,
20     unlike many criminal tax defendants, Dr. Mani has paid all the civil fraud and
21     FBAR penalties assessed for his actions -- $511,802 – which represents a
22     financial penalty of more than 100% of the taxes originally owed.
23              ●       In addition to this very severe financial penalty, Dr. Mani already has
24     been punished in this case by suffering irreparable damage to a reputation built
25     over a lifetime. Dr. Mani will be a convicted felon for the rest of his life with all
26     the collateral restrictions that imposes.
27              ●       The Recommended Sentence is necessary to avoid unwarranted
28     sentencing disparities with those convicted of similar conduct. In particular, since
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1      2009, the government has very actively prosecuted taxpayers with unreported
2      offshore accounts. The overwhelming majority of those taxpayers used a variety
3      of financial structures to hide their foreign accounts from the U.S. government,
4      including foreign companies and foreign trusts. These taxpayers had multiple
5      accounts in multiple banks under different names, often for over a decade, and
6      transferred their funds often to avoid detection. Many of the taxpayers had foreign
7      accounts with well more than $1 million in them. In contrast, Dr. Mani had one
8      foreign account at one foreign bank in his own name open for three years with
9      approximately $400,000 in it at its height. At sentencing, the majority of the over
10     70 taxpayers who have been prosecuted in this wave of prosecutions received non-
11     imprisonment sentences including conditions of home detention, community
12     service, and halfway house. The Recommended Sentence would fit squarely
13     within the spectrum of sentencing of similar defendants, particularly given the
14     more egregious conduct many of them engaged in.
15              ●       Dr. Mani poses no risk to the public from further criminal conduct;
16     and
17              ●       A sentence of imprisonment is not needed to provide specific or
18     general deterrence. With respect to specific deterrence, given that Dr. Mani’s
19     offense was over four years ago and he has done everything in his power to make
20     amends for his misconduct, there is no indication that a sentence of imprisonment
21     beyond the Recommended Sentence is necessary to deter Dr. Mani from
22     committing future crimes. Similarly, with regard to general deterrence, the
23     government’s own IRS study demonstrates that a sentence of imprisonment is not
24     required to promote general deterrence provided that the defendant has been
25     criminally prosecuted and at least receives a probationary sentence.
26              These and other factors, individually and in combination, demonstrate that
27     the Recommended Sentence is “sufficient, but not greater than necessary,” to
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1       comply with the statutory goals of sentencing. 18 U.S.C. § 3553(a); Kimbrough v.
2       United States, 552 U.S. 85, 109 (2007).
3       II.      NO OBJECTIONS TO PRESENTENCE REPORT
4                Dr. Mani is not aware of any government objections to the Presentence
5       Report disclosed on July 30, 2018 nor does he have any objections to the facts and
6       general guideline calculations set forth in that report. Dr. Mani notes that the
7       Probation Officer stated in paragraph 95 in the section titled “Factors That May
8       Warrant A Sentence Outside Of The Advisory Guideline System” that pursuant to
9       18 U.S.C. § 3553(a)(1), “among the factors that the Court shall consider in
10      determining the particular sentence are the nature and circumstances of the offense
11      and the history and characteristics of the defendant.”
12      III.     ANALYSIS OF SENTENCING FACTORS
13               The Court must impose a sentence consistent with the mandate of 18 U.S.C.
14      § 3553(a). The Sentencing Guidelines are only a starting point, one of many
15      factors to be weighed when selecting a disposition that is sufficient but not greater
16      than necessary to satisfy the purposes and goals set forth in 18 U.S.C. §3553(a).
17      Gall v. United States, 552 U.S. 38, 49-50 (2007) (guideline range should not be
18      presumed to be reasonable); Kimbrough, 552 U.S. at 90 (guidelines only “one
19      factor among several courts must consider in determining an appropriate
20      sentence”). Additionally, the Court is no longer hemmed in by the traditional
21      departure analysis. Rather, the primary objective for this, as any, sentencing is to
22      “make an individualized assessment based on the facts presented.” Gall, 552 U.S.
23      at 50. As Justice Kennedy observed even pre-Booker, “[i]t has been uniform and
24      constant in the federal judicial tradition for the sentencing judge to consider every
25      convicted person as an individual and every case as a unique case study in human
26      failings that sometimes mitigate, sometimes magnify, the crime and punishment to
27      ensue.” Koon v. United States, 518 U.S. 81, 113 (1996).
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1                The “overarching provision” of 18 U.S.C. § 3553(a) is, of course, to impose
2       a sentence sufficient, but not greater than necessary, to meet the goals of
3       sentencing established by Congress. Kimbrough, 552 U.S. at 101. Those statutory
4       goals include “to reflect the seriousness of the offense,” “to promote respect for the
5       law,” “to provide just punishment for the offense,” “to afford adequate deterrence
6       to criminal conduct,” and “to protect the public from further crimes of the
7       defendant.” Id.; see 18 U.S.C. § 3553(a). The statute further provides that, in
8       determining the appropriate sentence, the court should consider a number of
9       factors, including “the nature and circumstances of the offense,” “the history and
10      characteristics of the defendant,” “the sentencing range established” by the
11      Guidelines, “any pertinent policy statement” issued by the Sentencing Commission
12      pursuant to its statutory authority, and “the need to avoid unwarranted sentence
13      disparities among defendants with similar records who have been found guilty of
14      similar conduct.” Id. “In sum, while the statute still requires a court to give
15      respectful consideration to the Guidelines, Booker permits the court to tailor the
16      sentence in light of other statutory concerns as well.” Kimbrough, 552 U.S. at 101
17      (internal quotations and citations omitted). If a sentence other than imprisonment
18      would be sufficient to meet the statutory goals of sentencing, then the Court must
19      impose such an alternative because imprisonment would be a “greater than
20      necessary” sentence. 18 U.S.C. § 3553(a).
21               In his concurring opinion in Rita v. United States, 551 U.S. 338, 367 (2007),
22      Justice Stevens wrote: “I trust that those judges who have treated the Guidelines as
23      virtually mandatory during the post-Booker interregnum will now recognize that
24      the Guidelines are truly advisory.” The decisions in Kimbrough and Gall have
25      reinforced Justice Stevens’ remark and the authority of district courts to fashion the
26      sort of sentence that fits the crime and the individual.
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1                A.      History and Characteristics of the Defendant (§ 3553(a)(1))
2                        1.     Personal Background and Acceptance of Responsibility1
3                Dr. Mani grew up in Abilene, Texas. His father had immigrated from India
4       on his own, originally planning to become a priest and deciding upon medicine as a
5       profession. His father was very driven and a workaholic, and as Dr. Mani got
6       older, his father was often very verbally abusive with him and much more so with
7       his mother. However, one of the things his father always said was that people
8       should pay their taxes and not complain; Dr. Mani writes that these are words
9       “whose sting I feel every time I think about my mistake.”
10               Despite growing up in a small town in West Texas, Dr. Mani set his sights
11      very high. As Dr. Mani states: “I asked my father at ten years old what the best
12      college was in the US. When he told me Harvard, I decided that is where I wanted
13      to go. I worked as hard as I could through high school and I was very lucky to
14      gain admission there.”
15               While in college, Dr. Mani was struck by the homeless population in the
16      Boston area. Beginning his sophomore year, he began volunteering several hours
17      per week working for Greater Boston Legal Services’ Housing Unit, trying to
18      prevent unjust evictions and homelessness. He worked during the summer after
19      sophomore year for Legal Services under a volunteer fellowship program at the
20      John F. Kennedy School of Government. He also ran a committee to help place
21      other interested students in similar positions throughout Massachusetts. Dr. Mani
22      describes this work as teaching him “how much I loved the feeling of being helpful
23      to people and how carrying that feeling through whatever I did would be the most
24      meaningful thing I could do with my life.”
25               After college, Dr. Mani pursued his passion to help others and went to the
26      Baylor College of Medicine set on becoming a surgeon. Once he saw his first
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        1
         This Personal History section is derived from Dr. Mani’s Letter to the Court, attached herein as
28      Exhibit 1.
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1       cancer reconstruction operation and the ultimate skills required to do it, Dr. Mani
2       knew plastic and reconstructive surgery was his calling. This field combined Dr.
3       Mani’s scientific skills with his artistic skills, which has been key to his success in
4       and passion for plastic surgery.
5                After graduating medical school in 1995, Dr. Mani completed a three-year
6       General Surgery residency at Baylor College of Medicine Affiliated Hospitals.
7       This period of regularly working more than 100 hours per week included the full
8       range of surgery, but the part that stood out for Dr. Mani was running the second-
9       busiest trauma center in the U.S. as the Chief of the Ben Taub emergency room.
10      This was during a fairly violent time in the city of Houston where many evenings
11      saw multiple car accident and gun shot or stabbing victims come in in extremis.
12      Being in a position to triage and treat them, often helping them survive or
13      resuscitating them after several minutes of CPR in an ambulance, was something
14      he found more rewarding than any other experience he previously had. The
15      responsibility it required of him changed Dr. Mani as a person by showing him
16      “the deep satisfaction of giving everything you have in a way that provides a
17      needed service and can save someone’s life.”
18               Following this General Surgery residency, Dr. Mani completed a three-year
19      residency in Plastic and Reconstructive Surgery at Baylor, which was one of the
20      most demanding and thorough residencies in the country. The most memorable
21      part of this residency for Dr. Mani was serving as Chief Resident at the Veterans
22      Administration Hospital. He spent eight months running the reconstructive surgery
23      service. Since it was often difficult to find senior staff to help out, Dr. Mani
24      performed the great majority of these complex operations on his own with junior
25      residents assisting. Restoring form and function to veterans with war injuries and
26      other issues, like skin and head and neck cancer which were usually related to their
27      service, “allowed me [Dr. Mani] to see and appreciate more first-hand the lifelong
28      sacrifice they make.”
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1                Afterwards, Dr. Mani came to Los Angeles to practice plastic surgery and
2       joined Dr. Neal Handel, considered one of the most talented, honest and ethical
3       surgeons in the field. Alongside Dr. Handel, Dr. Mani started his own practice in
4       2001 and worked 12-14 hour days to build up that practice. Over the years, that
5       practice grew by word of mouth and direct referrals. As a result of having built a
6       successful practice, Dr. Mani was recruited to practice in Dubai in 2011. From the
7       start, his practice in Dubai was very busy so that he performed over 20 operations
8       during the five business days he went over there, making 6 trips per year. It was at
9       this high point of his career when he opened up an account in Dubai and made the
10      “very stupid and regretful decision” not to report it, or the income made in Dubai,
11      on his tax returns and not pay the tax generated by this income.
12               As Dr. Mani made this decision, he “knew deep down that it was wrong.”
13      Since Dr. Mani’s accountant JB was fully aware of the Dubai account and the
14      Dubai income and prepared his tax returns leaving the account and most of the
15      income off, Dr. Mani errantly thought that “I was protected if I was ever caught.”
16      Dr. Mani had gone to another accountant who wanted him to report everything but
17      when he found JB, the CPA who said he didn’t need to, Dr. Mani forthrightly
18      admits that “I mistakenly agreed with him even though I knew what I was doing
19      was wrong.” To make amends for that misconduct, Dr. Mani has done all he can
20      to cooperate in the government’s investigation of JB over the past two years,
21      answering all their questions during two proffer meetings and providing them with
22      all of his documents, emails, financial and bank statements inculpating JB in the
23      crimes he committed with Dr. Mani.
24               Over the years, in addition to working with his patients here and in Dubai,
25      Dr. Mani has lectured and taught other plastic surgeons in many different foreign
26      countries. He has published numerous papers on facial aesthetic or reconstructive
27      surgery, particularly with respect to facial nerve reconstruction after trauma or
28      cancer, and has reviewed articles on facial anatomy for the main academic plastic
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1       surgery journal as an expert in this area.
2                Much more rewarding for him, though, as Dr. Mani relates, have been the
3       opportunities to use his expertise to help those less fortunate. For Dr. Mani, his
4       experience with his mother and what she endured makes the care of domestic
5       violence victims a very personal mission for him. From an early point in his
6       practice, he has provided pro bono reconstructive surgery to victims of domestic
7       abuse, both in Los Angeles and in Dubai. He has worked with the Children’s Burn
8       Foundation of Los Angeles since 2005 and the non-profit organization Face
9       Forward since 2011, regularly operating on burn victims and other victims of
10      domestic violence and other crimes pro bono. He has consistently dedicated over
11      the years ten percent of his practice to this type of surgery. He has worked with
12      the women and families at Good Shepherd Shelter of Los Angeles by speaking to
13      them as a group and providing reconstructive surgeries for their domestic abuse-
14      victim clients in need. Move to End Domestic Violence, a national organization
15      that works locally with Good Shepherd Shelter to provide free moving services to
16      women in situations of abuse, appointed Dr. Mani a Global Ambassador based on
17      the work he has done in this area. As Dr. Mani writes: “It is hard to describe the
18      personal joy and satisfaction I receive from helping a young burn victim deal with
19      her tragedy by reconstructing her face, often with improved ability to see, speak,
20      eat, and walk forward with confidence. Operating on many young victims of
21      severe facial burns is enough to make anyone stop complaining about their own
22      problems – particularly myself, whose main problem is of my own doing.”
23               As part of this charity work, Dr. Mani has begun performing a cutting-edge
24      procedure to improve severe burn scarring using patients’ stem cells from their
25      own fat. He has begun to use this technique successfully on acid burn victims and
26      civilian victims of burns and shrapnel in the Syrian war who come in under the
27      care of Face Forward.
28               Aside from his medical work, Dr. Mani states that “my most important focus
                                                  10
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1       right now is my incredibly sweet and gifted daughter Erica.” Erica is fourteen
2       years old and lives with her mother; Dr. Mani has custody during holidays and half
3       of the summer. As Dr. Mani states: “Erica has ambitions to be a surgeon herself.
4       I never got to observe my father operating when he was alive and practicing, so
5       I’ve made it a point to have Erica come into surgery with me many times. She is
6       the light of my life, and I have spent my life trying to set a good example for her.
7       The failure to do that embodied in what I’ve done with my taxes is perhaps more
8       painful than what my own conscience does to me. But I know that she sees the
9       work I do and looks up to me, and I hope to use the mistakes I have made as a
10      teaching moment for her not to repeat those mistakes, not to try to take short cuts
11      or try to get away with things, and not to avoid the obligation to pay taxes.”
12               Dr. Mani has fully accepted responsibility for his misconduct in actions and
13      in words. In action, at the onset of the government’s investigation, he agreed to
14      plead guilty and entered into a pre-indictment plea agreement, saving the
15      government countless hours of having to complete its investigation involving a
16      foreign bank account. He fully cooperated against accountant JB, answering all
17      the questions posed by the government and providing them with all information
18      and documentation they requested. Since making the IRS financially whole for his
19      crimes was a “high priority” for Dr. Mani, he entered into closing agreements for
20      all years at issue with the IRS and more importantly paid all of his taxes and
21      interest before sentencing. Indeed, he also paid an over 100% civil fraud and
22      FBAR penalty of over $500,000 prior to sentencing. Thus, in action, Dr. Mani has
23      taken every step possible to accept responsibility and make amends for his crimes.
24      In words, Dr. Mani fully understands the gravity of his wrongs and has accepted
25      responsibility for them. As he writes: “I clearly made a very serious mistake that I
26      will pay for the rest of my life, personally and professionally. . . . to say that I am
27      racked with guilt about doing such a stupid thing as I did would be an
28      understatement. . . . I know I have engaged in criminal misconduct on my taxes. . .
                                                 11
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1       . I will pay for these crimes personally since I will be a publically branded,
2       convicted felon for the rest of my life.”
3                        2.     Character Letters
4                As reflected in the numerous letters submitted on his behalf and attached
5       herein as Exhibits 2-11, Dr. Mani is a widely respected man who has made the
6       most of the opportunities given to him while consistently being a contributing
7       member of his community. He has earned over the last 20 years a reputation for
8       honesty and integrity among his peers, patients, and friends. He has engaged in
9       philanthropy not only through raising and donating generous sums to charitable
10      organizations, but also through the gift of his time and surgical skills to those in
11      need.
12               The letters of Dr. Mani’s patients, colleagues, friends and family attest to the
13      exemplary aspects of Dr. Mani’s character and speaking glowingly of his integrity,
14      honesty, ethics, values, compassion, and commitment to those less fortunate. The
15      letters collectively paint a picture of a fundamentally good and honorable person, a
16      loving and devoted father, an ethical and respected physician, and an active and
17      generous contributor to his community.
18               Dr. Gary Alter, a friend and colleague of Dr. Mani’s for over 17 years,
19      writes of the esteem with which he holds Dr. Mani personally and professionally
20      (Exhibit 3):
21
              On the personal side, I know Marc very well. . . He has always
22            handled himself with the utmost dignity and dependability. I have
              never seen any dishonest tendencies in his interpersonal relationships
23            with friends or casual acquaintances. . . [On the work side] I have
              always been impressed by Marc’s plastic surgical knowledge and
24            inventive skills. He has been on the forefront of many plastic surgery
              innovations. I have watched Marc perform surgery and can vouch
25            for his gifted surgical skills. . . .He has taken these gifts not only to
              his paying patients but also to other unfortunate patients through
26            various charities. . . As a plastic surgeon with unique talent, he
              realizes the responsibility to give back to others.
27
28
                                                    12
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1                Lynda Barens, a long-time friend and plastic surgery patient coordinator,
2       writes about very personal experiences she has witnessed involving Dr. Mani
3       including when Dr. Mani spent the extra time and went the extra distance to help
4       her 94-year old mother through plastic surgery; or when Dr. Mani helped her
5       during her nine-day stay at Cedar Sinai when she was rushed there to the
6       emergency room, despite the fact that Dr. Mani was not her doctor; or that Dr.
7       Mani never forgets the day that Ms. Barens lost her son and helps her deal with the
8       pain every year. (Exhibit 4).
9                Kelly Day, a friend and patient, describes the “exceptional relationship” she
10      has observed Dr. Mani has with his daughter Erica and how losing this bond would
11      be “extremely detrimental” for Erica. (Exhibit 5). Ms. Day has had many
12      conversations with Dr. Mani and has witnessed that “he is extremely remorseful
13      and regrets all that has transpired . . . Dr. Mani made a grave mistake. He knows
14      it, and emotionally is dealing with it every day. But, he is one of the finest, caring
15      and talented doctors I have ever had the pleasure of knowing.”
16               Dr. Neal Handel, a plastic surgeon for 40 years whose practice Dr. Mani
17      joined in 2001 and who has been a mentor to Dr. Mani, writes that he has been
18      impressed over the years by the quality of Dr. Mani’s character, his integrity and
19      sincerity. (Exhibit 6). Dr. Handel has had multiple “heart-to-heart” conversations
20      with Dr. Mani about his criminal conduct and notes that Dr. Mani is “truly
21      remorseful” for his actions and that this has been an “extremely humiliating
22      experience” for Dr. Mani. Like others who have written letters to the Court, Dr.
23      Handel respectfully asks the Court to impose a sentence on Dr. Mani that would
24      allow him to continue “to use his skills as a physician and surgeon for the benefit
25      of patients and the community as a whole.”
26
27
28
                                                   13
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1                Chad Johnson, a lawyer and one of Dr. Mani’s closest friends for over 30
2       years, writes poignantly about how Dr. Mani’s patience, generosity, caring and
3       sacrifice helped Mr. Johnson survive a difficult and potentially suicidal period in
4       his life. (Exhibit 7). “Marc Mani was my initial and indispensable rock,” Mr.
5       Johnson states. Mr. Johnson also describes how Dr. Mani’s charitable efforts
6       going back 30 years to college and continuing until today have inspired him to
7       perform charitable work. Mr. Johnson observes that Dr. Mani is “responsible,
8       remorseful, improved, and I hope on balance, deserving in your eyes of a second
9       chance at this critical and formative time in his life, his fatherhood, and his career .
10      . .With a degree of targeted, purposeful leniency [allowing Dr. Mani to serve his
11      sentence through community service to others less fortunate], I fully believe Marc
12      will make you proud . . .This has been his path but for this terrible mistake.”
13               Dr. M H Khan, the Medical Director of the American British Surgical &
14      Medical Centre in Dubai, who has known Dr. Mani for the last 8 years, joins the
15      chorus of others when he writes that Dr. Mani is a “compassionate, hardworking,
16      committed and talented doctor. . . .dedicated to helping others.” (Exhibit 8). Dr.
17      Khan remarks about Dr. Mani being “the first to offer his services on a pro bono
18      basis to anyone genuinely in need and always available to his patients throughout
19      the period of time whilst under his care.” Dr. Khan has witnessed that Dr. Mani
20      “on countless occasions [has] helped patients who have been victims of domestic
21      violence, accidents or genetic malformation – often for no personal reward or
22      gain.” Having heard Dr. Mani acknowledge his wrong doing, Dr. Khan is
23      convinced that Dr. Mani “has learned from his experience and will certainly do
24      everything he can to make right the wrongs of the past.”
25               Rocky Malnotra, a close friend of Dr. Mani’s for the past 7 years, writes
26      about how Dr. Mani has been there for him as well as coming to the aid of friends
27      with medical issues often after hours and without asking for payment. (Exhibit 9).
28
                                                   14
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1       Mr. Malnotra has heard directly from Dr. Mani about how Dr. Mani “feels
2       profound remorse over his serious error in judgment” which Mr. Malnotra notes is
3       “very uncharacteristic” for Dr. Mani. Mr. Malnotra further states that Dr. Mani
4       “places a very high priority on using his skills and medical knowledge to help
5       those less fortunate.”
6                Mark Rothman, the former CEO of Good Shepherd Shelter of Los Angeles
7       and friend of Dr. Mani, writes about how Dr. Mani came to the shelter to talk to
8       woman and children who suffered from domestic violence. (Exhibit 10). “I
9       watched Marc give a presentation to a group of all the clients during one of his
10      visits. I was particularly impressed with his honesty in letting the shelter’s clients
11      know he had experienced domestic violence first hand in the home in which he
12      grew up. . . Ultimately he was able to help our clients who required reconstructive
13      care either by performing surgery . . . or connecting them with other appropriate
14      providers.” Mr. Rothman notes that he believes “Marc to be on a path towards
15      correcting the mistakes he made, through the service he is committed to providing
16      to domestic violence victims and to veterans.”
17               Alex Casilano, a business owner and friend of Dr. Mani’s for over 10 years,
18      has spoken to Dr. Mani often about his crimes and knows that Dr. Mani’s “guilt
19      and remorse are very profound.” (Exhibit 11). He describes how Dr. Mani’s
20      character and charitable actions have been an “example” to him and his son.
21      Knowing the potential that Dr. Mani has to help the community, Mr. Casilano
22      states to the Court: “Having [Dr. Mani] continue doing these [charitable surgery
23      for those less fortunate] . . .would in my opinion be of much more use to society
24      than having him in prison.”
25               The letters submitted by those who know Dr. Mani best speak with one
26      voice of his integrity, his ethics, his values, and his devotion to his community, the
27
28
                                                  15
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1       less fortunate, family and friends. As he has fully acknowledged, Dr. Mani made a
2       significant mistake and fell prey to a lapse in judgment – a lapse that represents an
3       aberrant deviation from a lifetime of honesty, integrity, and service to his patients
4       and his community.
5                Dr. Mani respectfully asks the Court to consider his letter, the letters
6       submitted on his behalf, and the totality of his life to place his mistakes in context
7       when determining an appropriate sentence. As one court has stated:
8                But, surely, if ever a man is to receive credit for the good he has
                 done, and his immediate misconduct assessed in the context of
9                his overall life hitherto, it should be at the moment of his
                 sentencing, when his very future hangs in the balance. This
10               elementary principle of weighing the good with the bad, which is
                 common to all the great religions, moral philosophies, and
11               systems of justice, was plainly part of what Congress had in mind
                 when it directed courts to consider, as a necessary sentencing
12               factor, “the history and characteristics of the defendant.”
13
        United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006).
14
                 3.      Recommended Sentence
15
                 The Recommended Sentence that Dr. Mani respectfully requests the Court to
16
        consider is a non-imprisonment sentence of probation with conditions of home
17
        detention and 1,500 hours of community service. With respect to the community
18
        service, Dr. Mani would like to present to the Court a particular program – Face
19
        Forward Veterans -- that will allow him to use the unique skill set in plastic
20
        surgery he has developed over the past 20 years to directly help veterans and others
21
        suffering from significant disfiguring injuries having returned home from war after
22
        serving their country. The need for such a doctor is tremendous, particularly one
23
        that will have the time (even if it is court-ordered) to provide consistent treatment
24
        over many years to hundreds of patients.
25
                 Face Forward is a non-profit organization that has worked in this area since
26
        2007 providing plastic surgery operations to those suffering from these physical
27
        injuries who are not able to afford such procedures, in particular victims of
28
                                                    16
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1       domestic violence, human trafficking and other criminal acts. It was co-founded
2       by Dr. David Alessi, a prominent facial plastic and reconstructive surgeon who
3       was the former Chairman of Otolaryngology/Facial Plastic Surgery at Cedars-Sinai
4       Medical Center, and his wife Deborah Alessi. (Exhibit 2). Dr. Alessi has known
5       and worked with Dr. Mani at Face Forward since 2011. Dr. Alessi’s desire to
6       work with Dr. Mani was based on his reputation as well as Dr. Mani’s passionate
7       desire to help others:
8
                 I don’t know of a more charitable, compassionate and honorable
9                physician in the community than Dr. Mani. He has the utmost respect
10               among his peers and a decades-long and very solid reputation for
                 honesty and the highest character as a medical professional and as a
11               person. . . . Beyond just the practice of plastic and reconstructive
12               surgery, Dr. Mani has gained an international academic reputation as
                 an expert on very complex facial anatomy, with multiple publications
13               in the top peer-reviewed academic journals.
14
15               Dr. Mani has worked with Dr. Alessi at Face Forward to provide pro bono

16      care to numerous patients who are victims of burns and domestic violence; Dr.

17      Alessi is also aware of Dr. Mani’s pro bono plastic surgery work for the Good

18      Shepherd Shelter for domestic abuse victims.

19               Through Face Forward, Dr. Alessi has developed a program, Face Forward

20      Veterans, that will “provide free reconstructive surgery to veterans to help them

21      recover from disfigurements occurring during their service and return to full and

22      complete lives.” While they have funding for the program, such a program

23      requires a hard commitment of a very significant amount of time at no charge from

24      a qualified reconstructive surgeon with experience in the types of serious

25      disfigurements facing veterans. (Exhibit 2, Resolution of Face Forward). Having

26      worked with Dr. Mani for years, Dr. Alessi is aware that Dr. Mani has the very

27      unique skill set required for the program, having previously run the reconstructive

28      surgery service for the Houston Veterans Administration and acquired the
                                                  17
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1       necessary experience with the medical and reconstructive surgical needs of
2       veterans. Dr. Mani is also one of the pioneers in developing and using a cutting-
3       edge Minimally Invasive Stromal vascular fraction (MIST) procedure which can
4       provide dramatic improvement in burn scars suffered by veterans. As Dr. Alessi
5       writes, he does not know of “a more qualified surgeon to treat these patients and
6       run this new program” than Dr. Mani.
7                If the Court is willing to order Dr. Mani to serve 1,500 hours of community
8       service to Face Forward Veterans, the program will go forward; otherwise, it will
9       not since it is almost impossible to find a similar skilled plastic surgeon willing to
10      commit 1,500 hours pro bono. As Dr. Alessi notes, the potential impact this
11      program will have on the lives of hundreds of veterans who have not been able to
12      get treatment for facial and other burns beyond acute care cannot be overstated.
13      Moreover, he will personally be in charge of the program and take responsibility to
14      verify Dr. Mani’s participation hours in the program; he will report back to the
15      Court as often as it would like to advise the Court about Dr. Mani’s participation
16      and the program’s impact on the lives of veterans. This program offers the Court
17      the chance to have Dr. Mani directly and substantially serve the society he harmed
18      through his tax offenses rather than sit unproductively in a prison.
19               B.      Nature and Circumstances of the Offense (§ 3553(a)(1))
20               Dr. Mani pleaded guilty to willfully failing to file an FBAR disclosing his
21      bank account in Dubai in 2012-2013. In addition, Dr. Mani agreed as part of his
22      pre-indictment plea agreement that he did not report and pay tax on most of his
23      Dubai income in 2012-2014. As part of his cooperation efforts, Dr. Mani detailed
24      for the government the “where, when, why, what, and how much” concerning the
25      establishment of the Dubai account and the manner in which his accountant knew
26      about the account and prepared tax returns that omitted the Dubai income from the
27      account. As Dr. Mani has stated, there is no excuse for his unquestionably serious
28      criminal conduct, and he makes none. He failed to report the foreign account and
                                              18
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1       income, and he has accepted full responsibility for his actions. It is important,
2       however, in understanding the nature and circumstances of those actions, to view
3       them in context. Unlike most of the over 75 individuals that the government has
4       prosecuted in its wave of offshore bank prosecutions starting in 2009,
5                * Dr. Mani did not use a foreign company (e.g., Cayman Islands, Panama)
6       or foreign trust (e.g., Liechtenstenian stiftung) or foreign board of directors to
7       set up the foreign account to hide his connection to it; instead, he set up the
8       account in his own name;
9                * Dr. Mani did not use multiple foreign accounts in multiple foreign
10      banks to hide his connection to the money or transfer funds among accounts to
11      make detection less likely; instead, he set up one foreign bank account at one bank
12      in his own name;
13               * Dr. Mani did not have millions of dollars in the foreign accounts nor
14      did he have those accounts opened for decade(s); instead, he had at its height
15      $400,000 in the one foreign account that was opened for two years and did not pay
16      over $400,000 in tax on foreign income over three years.
17               * Dr. Mani did not hide his foreign account or income from his
18      accountant; instead, he fully disclosed his foreign account to his accountant JB,
19      who had been practicing for over 35 years, and who also arranged through his
20      company to directly receive a wire transfer from the foreign account as payment
21      for a second trust deed; Dr. Mani has fully cooperated in providing incriminating
22      information against accountant JB to the government in furtherance of its
23      investigation of him for preparing false and fraudulent returns.
24               * Dr. Mani did not use fraudulent “back-to-back” loans with a local
25      branch of the foreign bank (e.g., Bank Leumi) or a credit card from the foreign
26      bank to access his funds in the foreign account; instead, he directly wire
27      transferred the majority of those funds to a U.S. company controlled by his
28      accountant JB.
                                                  19
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1                The fact that Dr. Mani did not undertake most of the actions that other
2       individuals who committed offshore tax evasion committed does not in any way
3       excuse his misconduct or understate its seriousness. However, in considering
4       where in the spectrum of offshore tax crimes his offense conduct falls, the lack of
5       such aggravating actions militates strongly in favor of Dr. Mani’s misconduct
6       falling on the lower part of the spectrum, thus justifying the Recommended
7       Sentence as compared to a sentence of incarceration. As discussed below, the fact
8       that the majority of offshore tax defendants with more egregious cases have
9       received non-imprisonment sentences further supports Dr. Mani receiving the
10      Recommended Sentence.
11               C.      The Need for the Sentence Imposed to:
12                       1.     Reflect the seriousness of the offense, promote respect for the
                                law and provide just punishment (§ 3553(a)(2)(A))
13
                 As discussed above, Dr. Mani does not dispute that the misconduct he
14
        committed was serious. However, the facts and circumstances of Dr. Mani’s
15
        conduct (including the facts that only one foreign bank account was opened in one
16
        foreign bank over two years in his own name and was reported, along with his
17
        foreign income, to his accountant) render his misconduct less grave than many
18
        other similar crimes that have been prosecuted by the government.
19
                 With respect to just punishment, Dr. Mani has already paid, and will
20
        continue to pay, a substantial price for his transgressions. Financially, Dr. Mani
21
        has not only made the IRS completely whole by paying back all the taxes
22
        ($437,878) and interest ($128,239) owed, he has already paid the civil fraud and
23
        FBAR penalties -- $511,802 – representing a financial penalty of more than
24
        100% of the taxes originally owed. With respect to these civil penalties, the
25
        Court does not have the power to assess them as part of a criminal sentence. Thus,
26
        if Dr. Mani had done what many tax defendants do, he would have been sentenced
27
        to pay the taxes and dragged out paying them as well as the interest during the civil
28
                                                     20
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1       administrative process which can last for months or even years. He could have
2       also fought the imposition of the maximum civil fraud and FBAR penalties,
3       requiring the IRS to assess them and the Department of Justice to prove them up in
4       court. As part of his desire to rectify his wrongs, Dr. Mani agreed to not require
5       any of this additional government civil process after sentencing and entered into
6       closing agreements and paid the maximum civil fraud and FBAR penalties prior to
7       sentencing.
8                As set forth in his letter to the Court, Dr. Mani has also suffered and will
9       continue to suffer immeasurably as a result of the loss of his professional
10      reputation cultivated over the last two decades and the fact that he will be a
11      convicted felon for the rest of his life . In light of these severe financial penalties
12      and collateral consequences, and taking into consideration Dr. Mani’s personal
13      background and his full acceptance of responsibility, a sentence of imprisonment is
14      not necessary to just punishment for Dr. Mani’s misconduct.2
15                       2.     Afford adequate deterrence to criminal conduct
                                (§ 3553(a)(2)(B))
16
                 The sentence imposed by the Court should also be sufficient, but not greater
17
        than necessary, to adequately deter criminal conduct. 18 U.S.C. § 3553(a)(2)(B).
18
        There can be no question that the goal of specific deterrence has already been met
19
        in this case. In actions and words, Dr. Mani fully understands the gravity of his
20
        misconduct and has taken every step in his power to rectify his wrongs, make the
21
        IRS whole, cooperate with the government’s investigation, and ensure that he will
22
        never transgress the law again. Dr. Mani’s exemplary personal history and the
23
        scores of impassioned character references further show that he is not a threat to
24
25      2
          The Supreme Court has recognized that “probation, rather than ‘an act of leniency,’ is a
26      ‘substantial restriction of freedom.’” Gall, 552 U.S. at 44 (quoting district judge). If sentenced
        to probation, Dr. Mani will be “subject to several standard conditions that substantially restrict
27      [his] liberty.” Id. at 48. These restrictions may include being required to report regularly to his
        probation officer, permit unannounced visits to his home, refrain from associating with any
28      person convicted of a felony, and restrictions on his ability to vote and travel.
                                                         21
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1       the public; a sentence of incarceration is not needed to further reinforce to him the
2       perils of violating the law.
3                Nor is a prison sentence necessary to achieve general deterrence. Any
4       taxpayer contemplating the decision of whether to disclose a foreign bank account
5       and report foreign income who views what has happened to Dr. Mani already will
6       be adequately deterred by (1) the lifelong criminal felony conviction with all its
7       attendant consequences; (2) the over 100% civil penalties; (3) the requirement to
8       make the IRS whole by paying the tax and all interest back; (4) the requirement to
9       cooperate on every person involved with your actions; and (5) the enormous
10      damage to the professional reputation one has worked hard to build. Adding
11      additional punishments of (6) probation, (7) home detention, and (8) 1,500 hours of
12      community service will further deter any would-be tax cheats from following Dr.
13      Mani’s crooked path. A sentence of incarceration is not needed to further reinforce
14      this message.
15               Moreover, a probationary sentence itself carries a deterrent effect. An
16      empirical analysis of the effect of different sentences on taxpayer compliance,
17      which was funded in part by the IRS, found no difference as it pertained to
18      deterrence between convictions that resulted in probation and convictions that
19      resulted in prison; both deterred tax crimes. It did find, however, that
20      convictions resulting only in fines (i.e., in neither prison nor probation) led to
21      lower compliance. See Jeffrey A. Dubin, Criminal Investigation Enforcement
22      Activities and Taxpayer Noncompliance, 2004 IRS Research Conference (June
23      2004) (http://www.irs.gov/pub/irs-soi/04dubin.pdf).
24               Accordingly, the Recommended Sentence will achieve both specific and
25      general deterrence in this case.
26
27
28
                                                   22
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1                        3.     Protect the public from future crimes of the defendant
                                (§ 3553(a)(2)(C))
2
                 Dr. Mani has no prior arrests or convictions and a previously unblemished
3
        lifelong record of honesty and integrity. Furthermore, he has demonstrated full
4
        acceptance of responsibility and remorse for the offenses that he committed. He
5
        does not pose a threat to the public.
6
                         4.     Provide the defendant with needed educational or vocational
7                               training, medical care or other correctional treatment in the
                                most effective manner (§ 3553(a)(2)(D))
8
                 There is no need to provide Dr. Mani with any educational or vocational
9
        training, medical care or other correctional treatment.
10
                 D.      The Kinds of Sentences Available (§ 3553(a)(3))
11
                 While the Court may impose a sentence of imprisonment, as reflected in the
12
        PSR, the Court may instead impose from one to five years of probation – with
13
        conditions including fine, restitution, or community service – in lieu of
14
        imprisonment. See 18 U.S.C. § 3561(c)(1). (PSR ¶ 86).
15
                 E.      The Advisory Guideline Range (§ 3553(a)(4))
16
                 As discussed above, Dr. Mani contends that the proper advisory guideline
17
        range in this case is 12-18 months. Of course, post-Booker, that range is now only
18
        one of several factors that the Court must consider in its sentencing analysis.
19
        United States v. Carty, 520 F.3d 984, 991 (9th Cir. 2008) (en banc).
20
                 F.      Any Pertinent Policy Statement Issued By the Sentencing
21                       Commission (§ 3553(a)(5))
22               With respect to pertinent policy statements, while the Sentencing
23      Commission issued a policy statement highlighting the need for deterrence in tax
24      cases, as explained above, both specific and general deterrence can be achieved in
25      this case without the need for the additional punishment of a sentence of
26      incarceration.
27
28
                                                     23
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1                G.      The Need to Avoid Unwarranted Sentence Disparities
                         (§ 3553(a)(6))
2
                 The goal of avoiding unwarranted sentencing disparities, which was a
3
        principal motivating force for the Sentencing Guidelines, remains a key sentencing
4
        factor under 18 U.S.C. § 3553. See United States v. Ressam, 679 F.3d 1069, 1094
5
        (9th Cir. 2012); see also 28 U.S.C. § 991(b)(1)(B) (purposes of Sentencing
6
        Commission include “avoiding unwarranted sentencing disparities among
7
        defendants with similar records who have been found guilty of similar criminal
8
        conduct while maintaining sufficient flexibility to permit individualized sentences
9
        when warranted by mitigating or aggravating factors not taken into account in the
10
        establishment of general sentencing practices”). In this case, a below-guidelines
11
        sentence of probation with home detention and 1,500 hours of community service
12
        is required to avoid unwarranted disparities with sentences imposed on defendants
13
        guilty of similar or more egregious misconduct.
14
                 Recent statistics from the U.S. Sentencing Commission show that of all
15
        federal tax defendants sentenced nationwide in fiscal year 2017, a substantial
16
        majority – 73.5% – was sentenced below the applicable guideline range (24.7%
17
        with the government’s support and 48.8% without). U.S. Sentencing Commission,
18
        2015 Sourcebook of Federal Sentencing Statistics, Table 27A
19
        (http://www.ussc.gov/research-and-publications/annual-reports-
20
        sourcebooks/2017/sourcebook-2017). A review of court records and government
21
        press releases in several of those cases reveals that probation not only is the most
22
        commonly imposed sentence, but has also been regularly granted to defendants
23
        whose conduct involved far greater tax losses and affirmative acts of evasion than
24
        anything involved in this case.3
25
        3
26        There have been 82 taxpayers to date prosecuted since 2009 as part of the government’s
        enforcement efforts targeting taxpayers with unreported offshore bank accounts and income. Of
27      those taxpayers, 68 have pleaded guilty and 14 have gone to trial. Of the 68 that have pleaded
        guilty, the majority of them have received non-imprisonment sentences of probation that may
28      have included home detention, community service or halfway house. See Offshore
                                                      24
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1                For example, in February 2014, billionaire (and Beanie Babies creator) H.
2       Ty Warner was sentenced after pleading guilty to evading almost $5.6 million in
3       taxes on more than $24.4 million in undeclared income. United States v. H. Ty
4       Warner, No. 13-cr-00731-CPK (N.D. Il.). Although Warner’s net worth was over
5       $1.7 billion and he could have paid the taxes on his offshore accounts easily, he
6       made a conscious effort for over a decade to evade taxes and to conceal the
7       offshore accounts from the accountants who prepared his tax returns. The
8       sentencing guideline range, as stipulated in Warner’s plea agreement, was 46-57
9       months. Noting Warner’s charitable contributions and finding that “society will be
10      best served by allowing him to continue his good works,” the district court
11      sentenced Warner to two years of probation and 500 hours of community service.
12      This very large variance from the guideline range to a probationary sentence was
13      affirmed on appeal, with the Seventh Circuit citing the defendant’s “excellent
14      character, as shown by his long history of charity and kindness to others,” and “the
15      isolated and uncharacteristic nature of his tax evasion.” United States v. Warner,
16      792 F.3d 847, 864 (7th Cir. 2015). Dr. Mani’s good works and charitable efforts
17      over the past several decades are at least commensurate with Mr. Warner’s efforts
18      which were largely confined to donating to worthwhile charities; Dr. Mani will be
19      performing life-changing surgeries on veterans and those in need of such
20      operations.
21               Similarly, in February 2013, Dr. Arvind Ahuja was sentenced in the United
22      States District Court for the Eastern District of Wisconsin, Case No. 11-CR-135,
23      after being convicted by a jury of filing a false tax return whereby he evaded tax of
24      $967,944.66 on undisclosed interest income of $2.76 million. At sentencing, the
25      government sought a prison term of 41-51 months arguing, like it has in this case,
26
27
        Charges/Convictions Spreadsheet prepared by Jack Townsend, located at
28      http://federaltaxcrimes.blogspot.com/p/offshore-charges-convictions.html.
                                                      25
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1       that deterrence demanded a stiff sentence of incarceration. The defense argued for
2       a sentence of probation based, among other things, on Dr. Ahuja’s years of service
3       to the community (including the needy) through the practice of medicine and the
4       significant harm that would befall others were he to be sentenced to prison and lose
5       his medical license. The district court imposed a sentence of three years' probation
6       (including six months of house arrest and 150 hours of community service).
7                There is no reason that Dr. Mani, with his lifetime of charitable work and
8       potential ability to directly improve the lives of others dramatically, and a tax loss
9       substantially less than Dr. Ahuja’s and just a small fraction of Mr. Warner’s,
10      should receive a greater sentence than imposed on either Dr. Ahuja or Mr. Warner.
11      But those defendants are hardly isolated cases. A small sampling of other
12      defendants who have received probation in tax cases – often in situations involving
13      larger accounts, greater tax losses, and highly complex affirmative acts of evasion
14      – include:
15               ● Mary Estelle Curran, charged in the United States District Court for the
16      Southern District of Florida, Case No. 9:12-CR-80206-KLR. She pleaded guilty to
17      two counts of subscribing to false tax returns based on her failure to disclose $43
18      million in an undisclosed Swiss account, resulting in a tax loss of $667,716.
19      (Sentenced in April 2013 to one year of probation, which District Judge Kenneth
20      Ryskamp immediately revoked, resulting in, as the court stated, “five seconds of
21      probation”)
22               ● Igor Olenicoff, charged in the United States District Court for the Central
23      District of California, Case No. 07-CR-227. He controlled and hid assets in
24      undisclosed foreign accounts for at least 13 years, and filed false tax returns for
25      seven years in which he failed to disclose those foreign accounts. Olenicoff's tax
26      liability to the IRS, including interest and penalties, totaled $52 million.
27      (Sentenced to two years of probation)
28               ● Pius Kampfen, charged in the United States District Court for the Northern
                                                 26
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1       District of California, Case No. 3:13-cr-00369-JST. Kampfen, an international
2       banker for 40 years who worked in San Francisco as the senior West Coast
3       representative for Swiss bank Julius Baer until his retirement in 2001, failed to
4       disclose or report on his tax returns a number of accounts he controlled at UBS and
5       other Swiss banks. He created a British Virgin Islands entity, Albia Investments
6       Limited, for the purpose of holding his assets in Swiss accounts and concealing his
7       ownership interest. When initially interviewed by the IRS, Kampfen falsely stated
8       that he was not familiar with Albia. Kampfen pleaded guilty to failing to disclose
9       his foreign accounts, which were valued as high as $2.93 million; the FBAR
10      penalty was $1.465 million. The total offense level was 10, and the guideline
11      range was 6-12 months; the government sought a sentence of six months’
12      imprisonment. (Sentenced to two years of probation with six months of home
13      detention)
14               ● Robert Greeley, charged in the United States District Court for the
15      Northern District of California, Case No. 3:11-cr-00374-CRB. A San Francisco
16      man who managed the investment of employee benefit funds at Hewlett-Packard
17      Co., Greeley was convicted of filing a false tax return and admitted concealing
18      more than $15 million in two bank accounts that he held at UBS in the names of
19      Cayman Islands nominee entities. He also failed to report more than $734,000 in
20      interest income that he earned in the UBS accounts. (Sentenced to three years of
21      probation with six months of home detention)
22               ● John McCarthy, charged in the United States District Court for the Central
23      District of California, Case No. 09-CR-784. He transferred over $1 million that he
24      illegally skimmed from his Los Angeles business into an undisclosed UBS account
25      and regularly communicated with UBS representatives to authorize transactions
26      with respect to his undisclosed accounts. Although McCarthy cooperated with the
27      government, the district judge stated that she also relied on the fact that he had no
28      prior criminal record and had otherwise "led a responsible, law-abiding life."
                                                27
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1       (Sentenced to three years of probation with six months of home detention and 300
2       hours of community service)
3                ● Paul Zabczuk, charged in the United States District Court for the Southern
4       District of Florida, Case No. 10-CR-60112. He directed his foreign clients to make
5       payments to his company through offshore accounts he controlled in the Bahamas
6       and Switzerland, further funded those offshore accounts by disguising payments
7       made from his domestic corporation to his offshore corporation as commissions,
8       and repatriated funds to the United States through cash withdrawals at UBS
9       branches in Nassau, London, and Zurich, as well as by wiring money to the
10      Republic of China and using it to buy furniture and other antiques that were then
11      shipped to him in the United States. According to the government, the tax loss was
12      $267,597. Zabczuk unsuccessfully attempted to enter the OVDP. The government
13      sought a sentence of 18 months’ imprisonment based on Zabczuk’s cooperation.
14      (Sentenced to three years of probation with 12 months of home detention and 150
15      hours of community service)
16               ● Steven Rubinstein, charged in the United States District Court for the
17      Southern District of Florida, Case No. 09-CR-60166. An accountant, he
18      repatriated approximately $7 million from his undisclosed UBS accounts into the
19      United States to purchase property and build his personal residence in Boca Raton,
20      and deposited and sold more than $2 million in South African Krugerrands through
21      his UBS accounts. The government sought a prison term of 12 months based on
22      Rubinstein’s substantial assistance. (Sentenced to three years of probation with 12
23      months of home detention)
24               ● Juergen Homann, charged in the United States District Court for the
25      District of New Jersey, Case No. 09-CR-724. He created a nominee Hong Kong
26      corporation to hide his ownership interest in his UBS account, orchestrated a sham
27      $5 million loan to a second Hong Kong entity in order to obtain financing for his
28      United States business, and made a conscious decision not to seek out and enter
                                               28
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1       into the IRS' voluntary disclosure program. As stated in the plea agreement, the
2       tax loss was over $400,000. (Sentenced to five years of probation with 300 hours
3       of community service)
4                ● Jules Robbins, charged in the United States District Court for the Southern
5       District of New York, Case No. 10-CR-333. He created a sham Hong Kong
6       corporation to be listed as the nominal holder of his UBS accounts (which
7       collectively contained almost $42 million) and took numerous affirmative steps to
8       conceal his interest in those accounts from the IRS, including having his Swiss
9       attorney receive all correspondence relating to the accounts at his law firm in
10      Switzerland. He pleaded guilty to five counts of filing false tax returns.
11      (Sentenced to one year of probation)
12               ● Ernest Vogliano, charged in the United States District Court for the
13      Southern District of New York, Case No. 10-CR-00327. He opened UBS accounts
14      in the names of Liechtenstein and Hong Kong shell corporations and, according to
15      the United States Attorney, “went to extreme lengths to hide his income at UBS
16      and other offshore banks.” Vogliano repatriated large sums of money from his
17      undisclosed UBS accounts by traveling to Zurich and mailing traveler's checks
18      from the UBS account to himself in the United States, and further used the UBS
19      accounts to pay numerous personal expenses for himself and his wife (including
20      transferring money to a contractor in Greece, sending money to an art gallery in
21      Paris, and charging hundreds of thousands of dollars on credit cards linked to his
22      UBS account). After learning of the criminal investigation of UBS, Vogliano
23      transferred $1 million from UBS to a Liechtenstein-based bank that did not have
24      offices in the United States. Vogliano pleaded guilty to one count of conspiracy
25      and five counts of filing false tax returns. (Sentenced to two years of probation)
26               ● Harry Abrahamsen, charged in the United States District Court for the
27      District of New Jersey, Case No. 10-CR-00254. He funded his undisclosed foreign
28      accounts with approximately $1.3 million in false and inflated expenses paid by his
                                               29
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1       business to a Swiss company, which expenses he then deducted on the business'
2       corporate tax returns. Abrahamsen transferred his UBS accounts to a nominee
3       Panamanian corporation for the purpose of hiding them from the IRS. Per the plea
4       agreement, the tax loss was between $325,000 and $550,000, and the stipulated
5       total offense level was 16, with a guideline sentencing range of 21-27 months.
6       (Sentenced to three years of probation with 12 months of home detention)
7                ● Leonid Zaltsberg, charged in the United States District Court for the
8       District of New Jersey, Case No. 10-CR-437. He transferred his undisclosed
9       foreign bank accounts to a nominee Panamanian corporation for the purpose of
10      hiding them from the IRS and, as found by the District Court at sentencing, “made
11      a conscious and calculated decision to hide money offshore.” Per the plea
12      agreement, the total offense level was 13, with a guideline sentencing range of 12-
13      18 months. (Sentenced to four years of probation with 12 months of home
14      detention)
15               ● Jacques Wajsfelner, charged in the United States District Court for the
16      Southern District of New York, Case No. 12-CR-00641. A retired real estate and
17      advertising executive, he concealed $5.7 million in undisclosed accounts at two
18      Swiss banks, including one account in the name of a sham Hong Kong corporation
19      that he created to hide his ownership of the account from the IRS. The tax loss
20      was over $419,000, and the civil FBAR penalty was over $2.8 million. (Sentenced
21      to six months of probation with three months of home detention)
22               ● Jeffrey Chatfield, charged in the United States District Court for the
23      Southern District of California, Case No. 10-CR-4546. He opened a UBS account
24      in the name of a nominee entity, deposited $900,000 in untaxed cash and securities
25      that he received from his consulting work, and later transferred account assets into
26      another UBS account held in the name of another nominee entity. (Sentenced to
27      three years of probation)
28               ● Richard Chong, charged in the United States District Court for the
                                                 30
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1       Northern District of California, Case No. 3:13CR00442-001 JST. Chong failed to
2       pay taxes on $1.8 million held in an undisclosed foreign account and faced an
3       advisory guideline range of 10-16 months. At sentencing in December 2013, the
4       district granted a downward variance based in large part on the sentences given to
5       similarly situated defendants. (Sentenced to two years of probation and 200 hours
6       of community service)
7                ● Lothar Hoess, charged in the United States District Court for the District
8       of New Hampshire, Case No. 11-CR-154. He deposited his business receipts into
9       an undisclosed UBS account and used another undisclosed UBS account to pay his
10      personal expenses. Hoess was aware of and understood his obligation to file
11      FBARs and report those accounts, having previously filed FBARs for an account
12      that he controlled in Italy. The plea agreement included a base offense level of 20
13      (tax loss over $400,000), a total offense level of 19, and a guideline sentencing
14      range of 30-37 months. Hoess’ total tax liability to the IRS, including penalties
15      and interest, was $2,033,209. (Sentenced to three years of probation with eight
16      months of home detention)
17               ● Wolfgang Roessel, charged in the United States District Court for the
18      Southern District of Florida, Case No. 12-CR-60074. He held undisclosed
19      accounts in nominee names at UBS and at another Swiss bank, into which he
20      deposited foreign proceeds of his business totaling over $11.5 million. When
21      Roessel became aware of the government's investigation into his UBS accounts, he
22      disclosed only the existence of the UBS accounts on his tax returns for those years
23      and did not report the other Swiss account. Per the plea agreement, the stipulated
24      tax loss was $312,803, the total offense level was 17, and the guideline sentencing
25      range was 24-30 months. (Sentenced to eight months of home detention with three
26      years of supervised release)
27               ● Josephine Bhasin, charged in the United States District Court for the
28      Eastern District of New York, Case No. 2:11-CR-00268. She failed to disclose on
                                               31
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1       her tax return a number of foreign accounts at HSBC India valued at $8.3 million,
2       and further failed to disclose $169,000 of interest income earned on certificates of
3       deposit maintained at HSBC India. (Sentenced to two years of probation with
4       three months of home detention and 150 hours of community service)
5                ● Rakesh Chitkara, charged in the United States District Court for the
6       District of New Jersey, Case No. 3:13-cr-00202-MLC. He failed to disclose on
7       his tax returns his interest in at least two UBS accounts. He also formed a
8       Bahamian corporation that he used to conceal his beneficial ownership in one of
9       the UBS accounts. The tax loss was $27,000 and the civil FBAR penalty was
10      $839,885. (Sentenced to one year of probation)
11               ● Roberto Cittadini, charged in the United States District Court for the
12      Western District of Washington, Case No. CR 09-0344. A retired sales manager
13      for Boeing, he concealed nearly $2 million in undisclosed UBS accounts. After
14      initially opening a UBS account in his own name, he transferred the assets in that
15      account to a nominee Hong Kong corporation in order to evade United States
16      reporting and withholding requirements. (Sentenced to one year of probation with
17      six months of home detention and 200 hours of community service)
18               ● Gregory Rudolph, charged in the United States District Court for the
19      District of Massachusetts, Case No. 1:10-cr-10360-NMG. He failed to disclose a
20      UBS account containing at least $1.5 million, and created shell companies in the
21      British Virgin Islands and in Hong Kong to assist in hiding the income from the
22      undisclosed UBS account. (Sentenced to one year of probation with one month of
23      home detention)
24               ● Arthur Joel Eisenberg, charged in the United States District Court for the
25      Western District of Washington, Case No. 2:10-cr-00369-JCC. He failed to
26      disclose his ownership of several UBS accounts containing a total of over $4.2
27      million. He also authorized and caused the formation of a Hong Kong corporation
28      and transferred his assets into a UBS account in the corporation’s name to conceal
                                                 32
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1       his beneficial ownership. Upon learning of the UBS investigation in 2008, he
2       closed his UBS account and transferred the funds to another large global Swiss
3       bank. (Sentenced to three years of probation)
4                ● Anton Ginzburg, charged in the United States District Court for the
5       Eastern District of New York, Case No. 1:11-cr-00432-SJ. A New York podiatrist,
6       he concealed his ownership of a UBS account containing $3.11 million and paid a
7       civil FBAR penalty of over $1.5 million. (Sentenced to five years of probation)
8                ● Michael F. Schiavo, charged in the United States District Court for the
9       District of Massachusetts, Case No. 1:11-CR-10192-RGS. A venture capitalist, he
10      arranged to have $99,273 in taxable income from an investment wired to an
11      undisclosed bank account in Bermuda, and failed to report the account to the IRS
12      or declare the payment on his tax return. The tax loss was $40,624. (Sentenced to
13      one year of probation with one month of home detention)
14               ● Humberto Gomez, charged in the United States District Court for the
15      Southern District of Florida, Case No. 1:12-CR-20198-JEM. He filed false tax
16      returns that failed to disclose a UBS account that he held in the name of a sham
17      British Virgin Islands corporation and into which he deposited nearly $1.9 million
18      in business receipts. (Sentenced to three years of probation)
19               Accordingly, given that the majority of similarly situated defendants with
20      even more egregious and aggravating facts received non-imprisonment sentences
21      of probation with certain conditions, in order to avoid unwarranted sentencing
22      disparities, the Court should impose the Recommended Sentence.
23               H.      The Need to Provide Restitution to Victims of the Offense
                         (§ 3553(a)(7))
24
                 Dr. Mani has already paid prior to sentencing all of taxes, interest and civil
25
        fraud and FBAR penalties owed and thus will not have any additional restitution
26
        due and owing.
27
28
                                                    33
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1                I.      A Sentence of Probation with Home Detention and 1,500 Hours of
                         Community Service Is Reasonable and Appropriate in this Case
2
                 Under all the circumstances of this case and the analysis of the § 3553(a)
3
        sentencing factors set forth above, Dr. Mani respectfully submits that the
4
        Recommended Sentence is reasonable and appropriate. Such a sentence would
5
        recognize the seriousness of Dr. Mani’s offense conduct while accounting for the
6
        attendant extenuating circumstances, the mitigating aspects of the nature of his
7
        offense, his pre-indictment guilty plea, his timely, truthful and substantial
8
        cooperation, his full payment of taxes, interest and penalties prior to sentencing,
9
        his decades of being a law-abiding, productive and contributing member of society,
10
        the need to avoid unwarranted sentencing disparities among similarly situated
11
        defendants, and the need and tremendous benefit to society of having Dr. Mani
12
        serve 1,500 hours of community service with Face Forward Veterans rather than
13
        serve that time unproductively in prison.
14
        IV.      CONCLUSION
15
                 For the reasons set forth herein, and taking into consideration the nature and
16
        circumstances of the offense, Dr. Mani’s history and personal characteristics, and
17
        all of the goals of sentencing enumerated in § 3553(a)(2), Dr. Mani respectfully
18
        requests that the Court sentence him to the Recommended Sentence of probation
19
        with home detention and 1,500 hours of community service.
20
         DATED: September 13, 2018                    Morgan, Lewis & Bockius LLP
21
22                                                    By:     /s/ Nathan J. Hochman
                                                                   Nathan J. Hochman
23                                                              Attorneys for Defendant
                                                                       Marc Mani
24
25
26
27
28
                                                    34
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                                          Marc Mani
                               Letters to Hon. R. Gary Klausner


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                     NAME                                     EXHIBIT NO.

 Mani, Marc, M.D.                                                  1

 Alessi, David M., MD FACS (Curriculum                             2
 Vitae attached)

 Alter, Gary J., M.D.                                              3

 Barens, Lynda                                                     4

 Day, Kelly                                                        5

 Handel, Neal, M.D. F.A.C.S.                                       6

 Johnson, Chad S., Esq.                                            7

 Khan, M. H., M.D.                                                 8

 Malnotra, Rocky                                                   9

 Rothman, Mark                                                    10

 Casalino, Alex                                                   11




                                             35
